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 Attorneys for Plaintiff

                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

   AHMED ALI MUTHANA, individually, and                    Cause No. 1:19-cv-00445-RBW
   as next friend of Hoda Muthana and Minor
   John Doe [initials A.M.]

           Plaintiff/Petitioner,                            CIVIL ACTION
           vs.

   MICHEAL POMPEO, in his official capacity                 NOTICE OF APPEAL
   as Secretary of the Department of State;
   DONALD J. TRUMP, in his official capacity
   as President of the United States; and
   WILLIAM PELHAM BARR, in his official
   capacity as Attorney General.

           Defendants/Respondents.




                           PLAINTIFF’S NOTICE OF APPEAL


        Plaintiff Ahmed Ali Muthana, individually and as Next Friend of Hoda Muthana and Minor

John Doe, by and through undersigned counsel, files this Notice of Appeal of this matter to the

Court of Appeals for the District of Columbia Circuit. Plaintiff appeals based on the Order of this

Court dated November 15, 2019, and the Memorandum issued by this Court dated December 9,

2019.
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Dated this 18th day of December, 2019.

                                                                       /s/ Christina Jump
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                                CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 18th day of December, 2019, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send a notice of electronic filing

to all counsel of record.


                                                                       /s/ Christina Jump
                                                                              Christina A. Jump
                                                                           Attorney for Plaintiff




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